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                    UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF
                              COLUMBIA
 UNITED STATES OF AMERICA,                 )    Magistrate No. 21-MJ-469 (RMM)
                                           )
                           Plaintiff,      )
                                           )    NOTICE OF APPEARANCE
       v.                                  )
                                           )
 BRIAN CHRISTOPHER MOCK,                   )
                                           )
                         Defendant.        )



       Pursuant to the Court’s order appointing counsel, the undersigned attorney hereby

notifies the Court and counsel that Keala C. Ede shall appear as appointed counsel of record

for the above named defendant in this case.



Dated: June 17, 2021                           /s/ Keala C. Ede
                                               KEALA C. EDE
                                               Attorney ID No. 387316
                                               Attorney for Defendant
                                               Office of the Federal Defender
                                               107 U.S. Courthouse
                                               300 South Fourth Street
                                               Minneapolis, MN 55415
